Case 1:17-cv-05228-NGG-VMS Document 119-1 Filed 12/20/17 Page 1 of 1 PageID #: 6358




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
                                              -X

   STATE OF NEW YORK et al. ,                           AFFIDAVIT OF SHILOH RAINWATER
                                                        IN SUPPORT OF MOTION TO
                           Plaintiffs,                  ADMIT COUNSEL PRO HAC VICE
                                                        1:17-cv-05228-NGG- JO
                   -against-

   DONALD TRUMP et al. ,

                           Defendants.




   SHILOH RAINWATER, being duly sworn, hereby deposes and says as follows:

   1. I am an associate with the law firm of Proskauer Rose LLP.
   2. I submit this affidavit in support of my motion for admission to practice pro hac vice in the
        above captioned matter.
   3.   As shown in the Certificate of Good Standing annexed hereto I am a member in good
        standing of the Bar of the State of New York.
   4.   There are no pending disciplinary proceedings against me in any State or Federal Court.
   5.   I have not been convicted of a felony.
   6.   I have not been censured, suspended, disbarred or denied admission or readmission by any
        court.
   7.   Wherefore your affiant respectfully submits that he be permitted to appear as counsel and
        advocate pro hac vice in this one case for New York University (as amicus curiae).




   Dated: December 20, 2017
                                                        Signature of Movant Shiloh Rainwater
                                                        Firm Name:    Proskauer Rose LLP
                                                        Address:      Eleven Times Square
                                                                      New York, NY 10036
                                                        Email         srainwater@proskauer. corn
                                                        Phone         (212)969-3563

   NOTARIZED
